Case 1-1/-40104-cec Doc l4/ Filed O4ilo;lo Entered O4/10/Llo Lfisyind

B 25C (Official Form 25C) (12/08)

UNITED STATES BANKRUPTCY COURT

Eastern District of New York

Inre Prime Six Inc., d/b/a Woodland NYC : CaseNo. 117-40104-CEC

Debtor
Small Business Case under Chapter 11

SMALL BUSINESS MONTHLY OPERATING REPORT

Month: March 2018 Date filed: 04/16/2018 —

 

Line of Business: RESTAURANT & BAR NAISC Code: 722511

IN ACCORDANCE WITH TITLE 28, SECTION 1746, OF THE UNITED STATES CODE, I DECLARE UNDER PENALTY OF
PERJURY THAT I HAVE EXAMINED THE FOLLOWING SMALL BUSINESS MONTHLY OPERATING REPORT AND THE
ACCOMPANYING ATTACHMENTS AND, TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE,
CORRECT AND COMPLETE.

RESPONSIBLE PARTY:
x Kktvk Cetin

Original Signature of Responsible Party

 

Akiva Ofshtein
Printed Name of Responsible Party

 

Questionnaire: (A// questions to be answered on behalf of the debtor.) Yes No

1. IS THE BUSINESS STILL OPERATING? wm CJ

2. HAVE YOU PAID ALL YOUR BILLS ON TIME THIS MONTH? im

3. DID YOU PAY YOUR EMPLOYEES ON TIME? Wi tO

4. HAVE YOU DEPOSITED ALL THE RECEIPTS FOR YOUR BUSINESS INTO THE DIP ACCOUNT Ww Oo
THIS MONTH?

5. HAVE YOU FILED ALL OF YOUR TAX RETURNS AND PAID ALL OF YOUR TAXES THIS Oo
MONTH

6. HAVE YOU TIMELY FILED ALL OTHER REQUIRED GOVERNMENT FILINGS? CO

7. HAVE YOU PAID ALL OF YOUR INSURANCE PREMIUMS THIS MONTH? wi oO

8. DO YOU PLAN TO CONTINUE TO OPERATE THE BUSINESS NEXT MONTH? wi oO

9. ARE YOU CURRENT ON YOUR QUARTERLY FEE PAYMENT TO THE U.S. TRUSTEE? oO

10. HAVE YOU PAID ANYTHING TO YOUR ATTORNEY OR OTHER PROFESSIONALS THIS oO Wi
MONTH?

11. DID YOU HAVE ANY UNUSUAL OR SIGNIFICANT UNANTICIPATED EXPENSES THIS o v4 |
MONTH?

12. HAS THE BUSINESS SOLD ANY GOODS OR PROVIDED SERVICES OR TRANSFERRED ANY oO V1
ASSETS TO ANY BUSINESS RELATED TO THE DIP IN ANY WAY?

13. DO YOU HAVE ANY BANK ACCOUNTS OPEN OTHER THAN THE DIP ACCOUNT? Oo ¥1
Case 1-1/-40104-cec Doc l4/ Filed O4ilo;lo Entered O4/10/Llo Lfisyind

Page 2

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14. HAVE YOU SOLD ANY ASSETS OTHER THAN INVENTORY THIS MONTH? Oo

15. DID ANY INSURANCE COMPANY CANCEL YOUR POLICY THIS MONTH? oO wi

16. HAVE YOU BORROWED MONEY FROM ANYONE THIS MONTH? Oo

17. HAS ANYONE MADE AN INVESTMENT IN YOUR BUSINESS THIS MONTH? oO

18. HAVE YOU PAID ANY BILLS YOU OWED BEFORE YOU FILED BANKRUPTCY? oO wi
TAXES

DO YOU HAVE ANY PAST DUE TAX RETURNS OR PAST DUE POST-PETITION TAX Ol wi

OBLIGATIONS?

IF YES, PLEASE PROVIDE A WRITTEN EXPLANATION INCLUDING WHEN SUCH RETURNS WILL
BE FILED, OR WHEN SUCH PAYMENTS WILL BE MADE AND THE SOURCE OF THE FUNDS FOR
THE PAYMENT.

(Exhibit A)

INCOME

PLEASE SEPARATELY LIST ALL OF THE INCOME YOU RECEIVED FOR THE MONTH. THE LIST
SHOULD INCLUDE ALL INCOME FROM CASH AND CREDIT TRANSACTIONS. (THE U.S. TRUSTEE
MAY WAIVE THIS REQUIREMENT.)

TOTALINCOME 3 466,240.46
SUMMARY OF CASH ON HAND

Cash on Hand at Start of Month $ 25,268.70
Cash on Hand at End of Month $ 3,653.00
PLEASE PROVIDE THE TOTAL AMOUNT OF CASH CURRENTLY AVAILABLE TO YOU TOTAL $5 3,653.00
(Exhibit B)
EXPENSES

PLEASE SEPARATELY LIST ALL EXPENSES PAID BY CASH OR BY CHECK FROM YOUR BANK
ACCOUNTS THIS MONTH. INCLUDE THE DATE PAID, WHO WAS PAID THE MONEY, THE
PURPOSE AND THE AMOUNT. (THE U.S. TRUSTEE MAY WAIVE THIS REQUIREMENT.)

TOTAL EXPENSES $ 361,159.32

(Exhibit C)
CASH PROFIT
INCOME FOR THE MONTH (TOTAL FROM EXHIBIT B) $ 466,240.46
EXPENSES FOR THE MONTH (TOTAL FROM EXHIBIT C) $ 361,159.32

(Subtract Line C from Line B) CASH PROFIT FOR THE MONTH - 3 105,081.14
Case 1-1/-40104-cec Doc l4/ Filed O4ilo;lo Entered O4/10/Llo Lfisyind

Page 3

B 25C (Official Form 25C) (12/08)
UNPAID BILLS

PLEASE ATTACH A LIST OF ALL DEBTS (INCLUDING TAXES) WHICH YOU HAVE INCURRED
SINCE THE DATE YOU FILED BANKRUPTCY BUT HAVE NOT PAID, THE LIST MUST INCLUDE
THE DATE THE DEBT WAS INCURRED, WHO IS OWED THE MONEY, THE PURPOSE OF THE
DEBT AND WHEN THE DEBT IS DUE. (THE U.S. TRUSTEE MAY WAIVE THIS REQUIREMENT.)

TOTAL PAYABLES $ 0.00
(Exhibit D)

MONEY OWED TO YOU

PLEASE ATTACH A LIST OF ALL AMOUNTS OWED TO YOU BY YOUR CUSTOMERS FOR WORK
YOU HAVE DONE OR THE MERCHANDISE YOU HAVE SOLD. YOU SHOULD INCLUDE WHO
OWES YOU MONEY, HOW MUCH IS OWED AND WHEN IS PAYMENT DUE. (THE U.S. TRUSTEE MAY
WAIVE THIS REQUIREMENT.)

TOTAL RECEIVABLES $ 0.00
(Exhibit E)

BANKING INFORMATION

PLEASE ATTACH A COPY OF YOUR LATEST BANK STATEMENT FOR EVERY ACCOUNT YOU
HAVE AS OF THE DATE OF THIS FINANCIAL REPORT OR HAD DURING THE PERIOD COVERED
BY THIS REPORT.

(Exhibit F)
EMPLOYEES
NUMBER OF EMPLOYEES WHEN THE CASE WAS FILED? 46
NUMBER OF EMPLOYEES AS OF THE DATE OF THIS MONTHLY REPORT? / Bg
PROFESSIONAL FEES
BANKRUPTCY RELATED:
PROFESSIONAL FEES RELATING TO THE BANKRUPTCY CASE PAID DURING THIS REPORTING
PERIOD? $ 0.00
TOTAL PROFESSIONAL FEES RELATING TO THE BANKRUPTCY CASEPAIDSINCETHEFILING = —~”
OF THE CASE? $ 0.00
NON-BANKRUPTCY RELATED: Oo
PROFESSIONAL FEES NOT RELATING TO THE BANKRUPTCY CASE PAID DURING THIS
REPORTING PERIOD? $ 0.00

TOTAL PROFESSIONAL FEES NOT RELATING TO THE BANKRUPTCY CASE PAID SINCE THE
FILING OF THE CASE? $ 0.00
Case 1-1/-40104-cec Doc l4/ Filed O4ilo;lo Entered O4/10/Llo Lfisyind

B 25C (Official Form 25C) (12/08)

PROJECTIONS

Page 4

COMPARE YOUR ACTUAL INCOME AND EXPENSES TO THE PROJECTIONS FOR THE FIRST 180

DAYS OF YOUR CASE PROVIDED AT THE INITIAL DEBTOR INTERVIEW.

Projected Actual
INCOME $ 1,650,000.00 $ 1,584,190.69 $
EXPENSES $ 1,452,000.00 $ 1,726,314.55 $

CASH PROFIT $ 198,000.00 $_ -142,123.86 $

TOTAL PROJECTED INCOME FOR THE NEXT MONTH:
TOTAL PROJECTED EXPENSES FOR THE NEXT MONTH:
TOTAL PROJECTED CASH PROFIT FOR THE NEXT MONTH:

ADDITIONAL INFORMATION

Difference
65,809.31
__ 274,314.55
-340, 123.86

$ 450,000.00
$ 360,000.00
$ 90,000.00

PLEASE ATTACH ALL FINANCIAL REPORTS INCLUDING AN INCOME STATEMENT AND BALANCE SHEET

WHICH YOU PREPARE INTERNALLY.
Case 1-1/-40104-cec Doc l4/ Filed O4ilo;lo Entered O4/10/Llo Lfisyind

 

 

4:16 PM PRIME SIX INC DBA WOODLAND
04/16/18 Profit & Loss
Accrual Basis March 2018
a Mar 18
Ordinary Income/Expense
Income
Sales _ 466,240.46
Total Income 466,240.46
Cost of Goods Sold
BAR
Beer
Joyce Beer Gas 325.00
SKI Beer Corp —_ 81.67
Total Beer 406.67
Beverage
Multi-Flow 3,126.66
Total Beverage 3,126.66
Hard Liquor
Empire Merchants 36,202.50
Southern Wine and Spirit Liquor 26,951.69
Total Hard Liquor 63,154.19
Park Street imports 904.80
Wine
Panebianco 2,598.25
Total Wine 2,598.25
Total BAR 70,190.57
Food Purchases
Bindi 705.73
Eli's Bread 686.35
Golden Malted 1,620.00
Jetro 21,409.19
Orel 7,131.00
Out of the Blue Seafood 6,167.67
P East Trading Corp 405.00
Pat La Frieda 2,091.79.
US Foods 18,070.91
Total Food Purchases _ 58,187.64
Total COGS _ _ 128,378.21
Gross Profit 337,862.25
Expense
Advertising and Promotion
Craiglist 90.00
Marketing
Adobe 106.60
Jason Rodriguez _ __ 900.00
Total Marketing 1,006.60
Resy 411.54
Advertising and Promotion - Othe: _ 800.00
Total Advertising and Promotion 2,308.14
Amarican Standard HG 4,219.45
Amazon 963.72
Bookkeeping 900.00

Page 1
Unaudited Statement
Case 1-1/-40104-cec Doc l4/ Filed O4ilo;lo Entered O4/10/Llo Lfisyind

 

4:16 PM PRIME SIX INC DBA WOODLAND
04/16/18 Profit & Loss
Accrual Basis March 2018
- Mar 18
Cleaning
Auto Chlor 1,461.10
Porter 4,200.00
Total Cleaning 5,661.10
Draft Lines
Inwood Draft Systems __ 225.00
Total Draft Lines 225.00
Dues & Subscriptions 45.00
Garbage
Five Star Carting INC — 1,099.64
Total Garbage 1,099.64
Green Plus Group 16,766.00
Insurance Expense
Alliance Premium Funding Corp 1,565.59
Workers Comp
NYSIF Workers Compensation 2,148.35
Special Fund For Disability Ben 2,276.00
Total Workers Comp 4,424.35
Total Insurance Expense 5,989.94
Licenses and Permits 500.00
Linen
Acme Linen & Uniform Service 2,595.00
Total Linen 2,595.00
Managment Expense 1,550.00
Merchant account Fee 6,406.02
NYS Corp Tax 1,000.00
Outside Labor 1099
Event Planing 2,213.90
Security Company
MAS Security Associates _ 18,117.00
Total Security Company 18,117.00
Total Outside Labor 1099 20,330.90
Payroll Expenses 95,381.75
Rent Expense 16,773.18
Repairs and Maintenance
H&S Hood and Duct Cleaning 382.00
Pest Control
Intelligent Pest Control 455.00
Total Pest Control 455.00
Repairs and Maintenance - Othe: ee 1,000.00
Total Repairs and Maintenance 1,837.00
Restaurant Consulting
Zamboni INC 3,070.00
Restaurant Consulting - Othe: —_ 15,605.00
Total Restaurant Consulting 18,675.00
Restaurant Supplies
Avco 500.50
M Tucker 425.40

Page 2
Unaudited Statement
Case 1-1/-40104-cec Doc l4/ Filed O4ilo;lo Entered O4/10/Llo Lfisyind

 

 

 

 

4:16 PM PRIME SIX INC DBA WOODLAND
04/16/18 Profit & Loss
Accrual Basis March 2018
Mar 18
United Paper 247.00
Restaurant Supplies - Other 1,109.55
Total Restaurant Supplies 2,282.45
Taxes Paid
Payroll Taxes
940 FUTA Tax 514.22
941 FICA Exp 11,257.83
NYC Commuter tax 184.76
NYS UI 4,653.05
Total Payroll Taxes 16,579.86
Total Taxes Paid 16,579.86
Utilities
ConEd 5,656.00
Gas
National Grid 3,889.11
Total Gas 3,889.11
Time Warner Cable 1,060.93
Verizon 85.92
Total Utilities 10,691.96
Total Expense _ 232,781.11
Net Ordinary Income 105,081.14
Page 3

Unaudited Statement
Case 1-1/-40104-cec Doc l4/ Filed O4ilo;lo Entered O4/10/Llo Lfisyind

Prime Six Inc. Small Business Monthly Operating Report
March 2018
Footnote

The balance sheet is not part of this operating report, as information necessary to provide an accurate
balance is not yet available.
Case 1-1/-40104-cec Doc l4/ Filed O4ilo;lo Entered O4/10/Llo Lfisyind

PRIME SIX INC DBA WOODLAND
Reconciliation Summary

4:53 PM
04/13/18

New Checking Signature 4241, Period Ending 03/31/201€

 

 

 

 

 

Mar 31, 18
Beginning Balance 25,268.70
Cleared Transactions
Checks and Payments - 436 items -436,739.52
Deposits and Credits - 46 items —_ 415,123.82
Total Cleared Transactions _ -21,61 5.70
Cleared Balance 3,653.00
Uncleared Transactions
Checks and Payments - 118 items -96,973.55
Deposits and Credits - 2 items 0.00
Total Uncleared Transactions -96,973.55
Register Balance as of 03/31/2018 -93,320.55 «
New Transactions
Checks and Payments - 285 items -212,750.98
Deposits and Credits - 22 items 179,283.60
Total New Transactions —_ -33,467.38
Ending Balance -126,787.93

Unaudited Statement

Page 1

 

 
Case 1-1 /-40104-cec

PRIME SIX INC

15 BAY 29TH STREET,2ND FLOOR
BROOKLYN, NY 11229

Page 1 of 1

Payroll by Department

Doc 14f Filed O4ilo;flo Entered O4/10/Llo Lfisyioo

 

 

 

 

 

 

 

 

 

 

 

 

Payroll Item None Total
Earnings
Bonus 98.11 98.11
Credit Card Tips 51,779.80 51,779.80
FOH 29,932.46 29,932.46
FOH OVERTIME 222.61 222.61
FOH SPREAD 390.00 390.00
HOSTESS 7,208.30 7,208.30
HOSTESS OVERTIME 426.38 426.38
HOSTESS SPREAD 0.00 0.00
Hourly Sick 312.00 312.00
KITCHEN 26,114.95 26,114.95
KITCHEN OVERTIME 5,786.19 5,786.19
KITCHEN SPREAD 689.00 689.00
Kitchen Salary 1,000.00 1,000.00
MANAGEMENT 8,030.76 8,030.76
MANAGEMENT HRLY 2,022.80 2,022.80
MANAGEMENT OVERTIME 0.00 0.00
Reported Cash Tips 1,369.74 1,369.74
Salary 10,600.00 10,600.00
TRAINING 1,178.45 1,178.45
Total Earnings 147,161.55 147,161.55
Deductions _ __
Reported Cash Tips (offset) -1,369.74  -1,369.74
Total Deductions -1,369.74  -1,369.74
Taxes
Federal Withholding -8,152.00  -8,152.00
Medicare Employee -2,133.81 -2,133.81
Medicare Employee Addl Tax 0.00 0.00
Social Security Employee 9,124.02 -9,124.02
NY - City Resident -3,491.60 -3,491.60
NY - Disability -149.07 -149.07
NY - Paid Family Leave -185.46 -185.46
NY - Withholding -4,996.40  -4,996.40
Total Taxes -28,232.36 -28,232.36
Net Pay 117,559.45 117,559.45
Direct Deposit
Direct Deposit -1,045.39 -1,045.39
Total Direct Deposit -1,045.39  -1,045.39
Company Paid Taxes
Federal Unemployment -514,22 -514.22
Medicare Company -2,133.81 -2,133.81
Social Security Company -9,124.02 -9,124.02
NY - Disability Company 0.00 0.00
NY - MCTMT (Transit Tax) -154.76 -154.76
NY - Re-employment Service Fund -107.45 -107.45
NY - Unemployment 4,545.60  -4,545.60
Total Company Paid Taxes -16,579.86 -16,579.86

Payroll by Department

Mar 1, 2018 - Mar 31, 2018
Case 1-1/-40104-cec Doc l4/ Filed O4ilo;lo Entered O4/10/Llo Lfisyind

SIGNATURE BANK

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565 Fifth Avenue, 12" Floor
New York, NY 10017
Statement Period
From March o1, 2018
To March 31, 2018
Page 1 of 13
PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242
SAL MONACO
PRIME SIX INC. DBA WOODLAND 9-421
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214 999 See Back for Important Information
Primary Account: 1502734241 385

 

BANK DEPOSIT ACCOUNTS
1502734241 BANKRUPTCY CHECKING 25,268.70 3,653.60

RELATIONSHIP TOTAL 3,653.00
Case 1-1 /-40104-cec

 

Doc 14/f Filed O4/Lo/lo

SIGNATURE BANK

PRIME SIX INC. DBA WOODLAND 9-421
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214 999
BANKRUPTCY CHECKING 1502734241
Summary
Previous Balance as of March 01, 2018
44 Credits
436 Debits
Ending Balance as of March 31, 2018
Deposits and Other Credits
Mar 01 ACH DEPOSIT ck/ref no. 7299209
MERITCARD MERCH DEP 960000009035908
002 000000000002717959000008960
Mar 02 ACH DEPOSIT ck/ref no. 7414307
MERITCARD MERCH DEP 960000009035908
002 000000000003665999000008960
Mar 05 ACH DEPOSIT ck/ref no. 7522009
INTUIT PAYROLL S QUICKBOOKS 272373853
Mar 05 ACH DEPOSIT ck/ref no. 7522010
INTUIT PAYROLL §& QUICKBOOKS 272373853
005 000000000000001591722616679
Mar 05 ACH DEPOSIT ek/ref no, 7525237
MERITCARD MERCH CHBK 960000009035908
002 000000000000037179000008960
Mar 05 ACH DEPOSIT ek/ref no. 7527372
MERITCARD MERCH DEP 960000009035908
002 000000000002996699000008960
Mar 0S ACH DEPOSIT ek/ref no. 7532082
MERITCARD MERCH DEP 960000009035908
002 000000000038596279000008960
Mar 0S DEPOSIT
Mar 06 ACH DEPOSIT ck/ref no. 7586706
DOORDASH, INC. TRANSFER DOORDASH, INC.
Mar 06 ACH DEPOSIT ck/ref no. 7627870
MERITCARD MERCH DEP 960000009035908

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Statement Period

From March 01, 2018
To March 31, 2018
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PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

See Back for Important Information

Primary Account: 1502734241 385

25,268.70
415,123.82
436,739.52

3,653.00

2,717.95

3,665.99

78

.81

37.17

2,996.69

38,596.27

8,500.00

72.57

24,130.04
 

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Case 1-1 /-40104-cec

PRIME SIX INC. DBA WOODLAND
DEBTOR IN POSSESSION

CASE # 117 40104 CEC

15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214

Description
002 000000000024130049000008960
ACH DEPOSIT
MERITCARD MERCH DEP
002 000000000003118299000008960
ACH DEPOSIT

MERITCARD MERCH DEP
002 000000000004289079000008960
DEPOSIT ref#

ACH DEPOSIT ck/ref no.
MERITCARD MERCH DEP

002 000000000002482929000008960
ACH DEPOSIT ck/ref no.
MERITCARD MERCH DEP

002 000000000005635119000008960
ACH DEPOSIT
MERITCARD MERCH DEP

002 000000000047908739000008960
ACH DEPOSIT
MERITCARD MERCH DEP

002 000000000028762199000008960
ACH DEPOSIT

MERITCARD MERCH DEP

002 000000000004240569000008960
DEPOSIT

ACH DEPOSIT ck/ref no.
MERITCARD MERCH DEP

002 000000000005312349000008960
DEPOSIT ret#

ACH DEPOSIT ek/ref no.
MERITCARD MERCH DEP

002 000000000003213839000008960
DEPOSIT

ACH DEPOSIT ck/ref no.
POSTMATES TRANSFER

002 000000000000000011800948598
ACH DEPOSIT
MERITCARD MERCH CHBK
002 000000000000020889000008960

ck/ref no.

ck/ref no.

ck/ref no.

ck/ref no.

ck/ref no.

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SIGNATURE BANK

9-421

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7702755
960000009035908

7777876

960000009035908

7869673

960000009035908

7989973
960000009035908

8003649
960000009035908

8053126
960000009035908

8158849

960000009035908

8269675
960000009035908

8397347
96000000903595908

8474851

POSTMATES VERIF

8461870
960000009035908

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Statement Period

From March o1, 2018
To March 31, 2018
Page 3 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

See Back for Important Information

Primary Account: 1502734241 385

3,118.29

4,289.07

2,500.00
2,482.92

5,635.11

47,908.73

28,762.19

4,240.56

9,000.00
5,312.34

10,000.00
3,213.83

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Case 1-1 /-40104-cec

 

PRIME SIX INC. DBA WOODLAND
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2

BROOKLYN N¥ 11214
ACH DEPOSIT ck/ref no.
MERITCARD MERCH DEP

002 000000000007897159000008960
ACH DEPOSIT
MERITCARD MERCH DEP

002 000000000044049639000008960
ACH DEPOSIT
MERITCARD MERCH DEP

002 000000000029211779000008960
ACH DEPOSIT

MERITCARD MERCH DEP

002 000000000003558689000008960
DEPOSIT

ACH DEPOSIT ck/ref no.
MERITCARD MERCH DEP

002 000000000002627399000008960
ACH DEPOSIT ck/ref no.
MERITCARD MERCH DEP

002 000000000001104235000008960
DEPOSIT

ACH DEPOSIT ck/ref no.
MERITCARD MERCH DEP

002 000000000007431069000008960
ACH DEPOSIT ck/ref no.
MERITCARD MERCH DEP

002 000000000044240649000008960
DEPOSIT

ACH DEPOSIT

DOORDASH, INC. TRANSFER
ACH DEPOSIT ck/ref no.
POSTMATES TRANSFER

036 000000000014134451800948598
ACH DEPOSIT
MERITCARD MERCH DEP
002 000000000022896459000008960
ACH DEPOSIT
MERITCARD MERCH DEP
002 000000000003147809000008960
DEPOSIT

ck/ref no.

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SIGNATURE BANK

9-421

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8457964
960000009035908

8480255
960000009035908

8543825
960000009035908

8637644
960000009035908

8715703
960000009035908

8815151
960000009035908

8905661
960000009035908

8915701
960000009035908

8945266
DOORDASH, INC.

8945252
POSTMATES MERCH

8970849
960000009035908

9071978
960000009035908

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Statement Period

From March O01, 2018
To March 31, 2018
Page 4 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

See Back for Important Information

Primary Account:

7,897.

44,049.

29,211.

3,558

4,432,
2,627.

1,104

4,000

7,431.

44,240

15,000
27

61.

22,896

3,147

2,000

1502734241 385

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-61

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Withdrawals and Other Debits

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Case 1-1 /-40104-cec

PRIME SIX INC. DBA WOODLAND
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2

BROOKLYN NY

ACH DEPOSIT
MERTTCARD

11214

ek/ref no.

MERCH DEP

002 000000000003027369000008960

DEPOSIT
ACH DEPOSIT
MERITCARD

ck/ref no.

MERCH DEP

002 000000000004308509000008960

MISC DEBIT

ACH

NATIONAL GRID NY
ACH
EMPITREMERCHANTS
ACH

NYS DTF SALES
MISC DEBIT

ACH

IRS

ACH
NYSINSFNDWRKCMP
ACH

NYS DTF PROMP WT
ACH

SWS OF AMERICA
ACH

MERITCARD

ACH

SWS OF AMERICA
ACH
EMPTREMERCHANTS
ACH

TIME WARNER CABL
ACH

NYS DTF PROMP WT
ACH
IRS
ACH
NYS DTF BILL PYT

ck/ref no.

UTILITYPAY

ck/ref no.

INVOICE (S)

ck/ref no.

TAX PAYMNT

ck/ref no.

USATAXPYMT

ck/ref no.

1190000757

ck/ref no.

TAX PAYMNT

ck/ref no.

CORP PMT

ck/ref no.

MERCH CHBK

ck/ref no.

CORP PMT

ck/ref no.

INVOICE (S)

ck/ref no.

CABLE PAY

ck/ref no.

TAX PAYMNT

ck/ref no.

USATAXPYMT

ck/ref no.

TAX PAYMNT

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SIGNATURE BANK

9-421

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9126280

7524889
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225846420689869
7567677
510508262
7579367
000000028289785
7580712
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960000009035908
7857792
450000000402520
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6576946
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000000028563699
8006093
225847220818616
8072252
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Statement Period

From March Ol, 2018
To March 31, 2018
Page 5 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

See Back for Important Information

Primary Account:

3,027.

8,000

4,308.

16,573
1,000

6,471

4,978

5,009,
7,854.

1,561

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Case 1-1 /-40104-cec

SIGNATURE BANK

PRIME SIX INC. DBA WOODLAND
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2

BROOKLYN NY

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US FOODSERVICE
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MERITCARD

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SWS OF AMERICA
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AMEX EPAYMENT
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9-421
11214 999
ck/ref no. 8053130
MERCH CHBK 960000009035908
ck/ref no. 8006092
USATAXPYMT 225847220676236
ck/ref no. 8006089
USATAXPYMT 225847220814770
ck/ref no. 8031734
ACH PMT M0444
ck/ref no, 8006090
USATAXPYMT 225847220385924
ck/ref no, 8081383
USATAXPYMT 225847320060752
ck/ref no. 8081384
USATAXPYMT 225847320517973
ck/ref no. 8081391
USATAXPYMT 225847320972731
ck/ref no. 8192717
USATAXPYMT 225847420004365
ck/ref no. 8250979
TAX PAYMNT 000000028587759
ck/ref no. 8266243
VENDOR PAY 031501271030000
*O0* *01*621418185
ek/ref no. 8266828
RSRV FUND 960000009035908
ck/ref no. 8363832
CORP PMT 450000000404255
ck/ref no. 8399010
INVOICE (S) 8729391
ck/ref no. 8407572
UTILITYPAY 00182240282
ek/ref no. 8475857
ACH PMT M4296
ck/ref no. 8434378
TAX PAYMNT 000000029222536
ck/ref no. 8555466
QUICKBOOKS 272373853
ck/ref no. 8486501
USATAXPYMT 225847920915080

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Statement Period

From March 01, 2018
To March 31, 2018
Page 6 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

See Back for Important Information

Primary Account:

1502734241

385

78

516.

1,320.

2,000.

4,921.
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5,775

1,006

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PRIME SIX INC. DBA WOODLAND
DEBTOR IN POSSESSION
CASE # 117 40104 CEC
15 BAY 29TH STREET, FLOOR 2

BROOKLYN NY

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NYS DTF SALES
Mar 22 MISC DEBIT
Mar 22 ACH

VERIZON
Mar 26 ACH

SWS OF AMERICA
Mar 26 ACH

EMPIREMERCHANTS
Mar 27 ACH

NYS DTF BILL PYT
Mar 27 ACH

NYS DTF PROMP WT
Mar 27 MISC DEBIT
Mar 27 ACH

NYS DTF SALES
Mar 28 ACH

INTUIT PAYROLL S
Mar 28 ACH

NATIONAL GRID NY
Mar 29 ACH

MERITCARD
Mar 29 ACH

US FOODSERVICE

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Mar 30 ACH
NATIONALGRID
Mar 30 ACH
EMPIREMERCHANTS

Checks by Serial Number

SIGNATURE BANK

Doc 14f Filed O4ilo;flo Entered O4/10/Llo Lfisyioo

Statement Period

From March Ol, 2018
To March 31, 2018
Page 7 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

See Back for Important Information

Mar 07 10692
Mar 08 10865 *
Mar 06 10882 *
Mar 09 10904 *
Mar 06 10941 *
Mar 07 10943 *
Mar 05 10944
Mar 12 10945
Mar 05 10946

9-421
11214 999
ck/ref no. 8527249
TAX PAYMNT 000000029285452
ck/ref no. 8619170
PAYMENTREC 7183993926205
ck/ref no. 8810994
CORP PMT 450000000405849
ck/ref no. 8831340
INVOICE (8S) 9059654
ck/ref no. 8864244
TAX PAYMNT 000000029603714
ck/ref no. 8884422
TAX PAYMNT 000000029602300
ck/ref no. 8884299
TAX PAYMNT 6000000029606052
ck/ref no. 8981331
QUICKBOOKS 272373853
ek/ref no. 8923733
UTILITYPAY 00182240282
ck/ref no. 9074792
MERCH CHBK 960000009035908
ck/ref no. 9076360
VENDOR PAY 032801271030000
*O0* *01*621418185
ck/ref no. 9136766
NATLGRID 018224028238C
ck/ref no. 9155801
INVOICE (S) 1205494
390.00 Mar 12 10947
572.39 Mar 07 10948
635.48 Mar O01 10949
364.88 Mar 05 10950
270.00 Mar 06 10971
110.00 Mar oO1 10972
233.00 Mar 06 10973
2,330.00 Mar 02 10980
479.56 Mar 27 10981

Primary Account: 1502734241 385

16,000.00

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4,590.17

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Case 1-1 /-40104-cec

  

PRIME SIX INC. DBA WOODLAND
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2

BROOKLYN NY 11214

Serial Nbr Amount
10982 603.43
10984 * 417.56
10991 * 486.22
10994 * 617.12
11003 * 266.47
11018 * 500.00
11019 500.00
11023 * 281.72
11024 382.00
11026 * 600.00
11027 1,917.00
11034 * 91.00
11035 386.21
11036 750.00
11037 1,388.00
11039 * 862.00
11048 * 475.00
11049 475.00
11050 727.04
11051 281.42
11052 248.88
11053 786.08
11054 608.41
11055 376.95
11056 330.11
11057 315.71
11058 615.18
11059 159.72
11060 549.59
11061 269.40
11062 355.33
11063 451.71
11064 644.95
11065 477.51
11066 354.47
11067 214.81
11068 336.70
11069 674.94
11070 582.98

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9-421

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Statement Period

From March 01, 2018
To March 31, 2018
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PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

See Back for Important Information

Primary Account: 1502734241 385

Amount
244.75
762.77
274.69
646.49
752.04
444.65
301.94
539.34
630.19
651.62
425.77
638.83
581.70
254.08
789.93
621.52
358.45
573.80
261.77
677.49
881.86
$98.40
446.29
624.48
421.32
311.91
133.45
710.43
487.21
331.43
338.71
625.32
283.00
129.44
169.03
242.97
569.12
731.32
556.23
Case 1-1/-40104-cec Doc l4/ Filed O4ilo;lo Entered O4/10/Llo Lfisyind

li SIGNATURE BANK
Statement Period
From March ol, 2018
To March 31, 2018
Page 9 of 13
PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242
SAL MONACO
PRIME SIX INC. DBA WOODLAND 9-421
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214 999 See Back for Important Information
Primary Account: 1502734241 385
Date Serial Nbr Amount Date Serial Nbr Amount
Mar 05 11110 710.09 Mar 13 11156 221.55
Mar 07 11111 270.40 Mar 15 11157 598.77
Mar 02 11113 * 1,670.00 Mar 12 11158 239.88
Mar 05 11115 * 500.00 Mar 13 11153 484.64
Mar 05 11116 500.00 Mar 14 11160 338.42
Mar O01 11117 53.30 Mar 16 11161 219.09
Mar 05 11118 200.00 Mar 13 11162 279.47
Mar 01 11119 500.00 Mar 13 11163 544,23
Mar 07 11122 * 4,010.00 Mar 14 11164 $515.18
Mar 02 11123 478.38 Mar 27 11165 563.51
Mar 12 11124 1,000.00 Mar 14 11166 236.46
Mar 07 11125 453.80 Mar 12 11167 500.63
Mar 06 11126 1,585.59 Mar 12 11168 368.93
Mar 06 11127 172.71 Mar 14 11169 726.98
Mar 06 11128 79.36 Mar 13 11170 678.84
Mar 06 11129 400.00 Mar 22 11171 372.89
Mar 19 11130 2,137.50 Mar 16 11172 210.70
Mar 06 11131 1,090.13 Mar 14 11173 437.93
Mar 07 11132 600.00 Mar 28 11174 575.31
Mar 06 11133 2,740.00 Mar 27 11175 172.63
Mar 02 11134 382.50 Mar 12 11177 * 752.04
Mar 05 11135 1,539.00 Mar 12 11178 438.12
Mar 05 11136 500.00 Mar 13 11179 539.90
Mar 08 11137 1,300.00 Mar 15 11180 98.98
Mar 07 11139 * 1,790.00 Mar 12 111821 632.58
Mar 09 11141 * 91.00 Mar 13 11182 658.04
Mar 12 11143 * 180.00 Mar 14 11184 * 518.65
Mar 14 11144 315.00 Mar 14 11185 531.08
Mar 15 11145 487.89 Mar 28 11186 149.79
Mar 15 11146 247.00 Mar 13 11187 767.32
Mar 15 11147 500.50 Mar 12 11188 607.86
Mar 21 11148 81.67 Mar 14 11189 493.40
Mar 06 11149 500.00 Mar 12 11130 576.45
Mar 15 11150 125.15 Mar 14 11191 361,59
Mar 13 11151 786.08 Mar 13 11192 830.07
Mar 13 11152 457.73 Mar 14 11193 610.06
Mar 12 11153 662.33 Mar 14 11194 446.29
Mar 12 11154 533.28 Mar 20 11195 624,49

Mar 14 11155 299.02 Mar 09 11196 421.32
Case 1-1/-40104-cec Doc l4/ Filed O4ilo;lo Entered O4/10/Llo Lfisyind

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SIGNATURE BANK

 

Statement Period

From March 01, 2018
To March 31, 2018
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PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

PRIME SIX INC. DBA WOODLAND 9-421

DEBTOR IN POSSESSION

CASE # 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2

BROOKLYN NY 11214 999 See Back for Important Information

Primary Account: 1502734241 385

Date Serial Nbr Amount Date Serial Nbr Amount
Mar 13 11198 * 684.13 Mar 20 11245 * 2,155.00
Mar 13 11199 581.43 Mar 12 11247 * 1,039.00
Mar 09 11200 637.46 Mar 12 11248 2,500.00
Mar 15 11201 494.09 Mar 13 11249 2,475.00
Mar 12 11202 393.58 Mar 13 11250 77.34
Mar 14 11203 324.69 Mar 20 11251 209.98
Mar 14 11204 541.78 Mar 13 11252 1,719.45
Mar 13 11205 616.51 Mar 26 11253 1,000.00
Mar 14 11206 275.76 Mar 27 11254 142.61
Mar 12 11207 452.36 Mar 20 11255 786.10
Mar 15 11208 270.46 Mar 19 11256 693.54
Mar 13 11209 233.27 Mar 19 11257 435.09
Mar 12 11210 247.85 Mar 19 11258 554.75
Mar 13 11211 569.13 Mar 21 11259 337.36
Mar 13 11212 731.33 Mar 22 11260 275.89
Mar 12 11213 648.61 Mar 20 11261 617.58
Mar 12 11214 634.31 Mar 20 11262 223.03
Mar 19 11215 247.84 Mar 20 11263 326.42
Mar 15 11216 219.86 Mar 20 11264 614.75
Mar 12 11218 * 500.00 Mar 20 11265 290.94
Mar 12 11219 500.00 Mar 19 11266 447.99
Mar 12 11220 850.00 Mar 19 11267 531.51
Mar 12 11221 1,670.00 Mar 19 11268 437.47
Mar 14 11222 414.60 Mar 22 11270 * 377.19
Mar 13 11224 * 147.64 Mar 19 11271 498.72
Mar 13 11225 400.00 Mar 19 11272 468.70
Mar 19 11226 1,739.00 Mar 20 11273 726.99
Mar 13 11227 1,380.38 Mar 26 11274 112.57
Mar 08 11231 * 45.00 Mar 19 11275 761.67
Mar 13 11232 530.44 Mar 28 11276 568.86
Mar 12 11233 205.77 Mar 27 11277 227.26
Mar 14 11234 5,030.00 Mar 23 11278 584.55
Mar 16 11236 * 182.00 Mar 16 11279 331.97
Mar 20 11237 1,000.00 Mar 27 11280 337.27
Mar 19 11238 2,830.00 Mar 19 11281 740.44
Mar 20 11239 105.00 Mar 22 11282 279.52
Mar 21 11240 2,185.00 Mar 20 11283 590.66
Mar 21 11242 * 225.00 Mar 19 11284 475.00

Mar 21 11243 290.59 Mar 28 11285 107.76
Case 1-1/-40104-cec Doc l4/ Filed O4ilo;lo Entered O4/10/Llo Lfisyind

a SIGNATURE BANK

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Statement Period

From March ol, 2018
To March 31, 2018
Page 11 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

PRIME SIX INC. DBA WOODLAND 9-421

DEBTOR IN POSSESSION

CASE # 117 40104 CEC

15 BAY 29TH STREET, FLOOR 2

BROOKLYN NY 11214 999 See Back for Important Information

Primary Account: 1502734241 385

Date Serial Nbr Amount Date Serial Nbr Amount
Mar 20 11286 432.73 Mar 20 11334 2,500.00
Mar 19 11287 604.95 Mar 27 11335 16,573.18
Mar 22 11288 460.67 Mar 15 11336 45.00
Mar 19 11289 88.44 Mar 21 11337 4,448.00
Mar 21 11290 223.42 Mar 19 11338 169.13
Mar 19 11291 623.12 Mar 16 11339 $19.20
Mar 20 11292 363.35 Mar 27 11340 200.00
Mar 14 11293 446.29 Mar 19 11341 300.00
Mar 15 11294 624.48 Mar 19 11343 * 1,026.00
Mar 16 11295 421.31 Mar 20 11344 800.00
Mar 20 11297 * 648.39 Mar 26 11345 10.37
Mar 16 11299 * 677.61 Mar 26 11346 1,000.00
Mar 20 11300 553.27 Mar 21 11347 750.00
Mar 19 11301 340.04 Mar 27 11348 262.06
Mar 20 11302 361.29 Mar 27 11349 786.08
Mar 14 11303 541.79 Mar 27 11350 506.30
Mar 22 11304 607.66 Mar 27 11351 562.86
Mar 19 11306 * 481.57 Mar 23 11352 627.90
Mar 26 11307 305.23 Mar 30 11353 347.85
Mar 27 11308 245.91 Mar 27 11354 436.65
Mar 19 11309 259.58 Mar 28 11355 700.44
Mar 19 11310 569.12 Mar 26 11356 254.79
Mar 16 11311 731.32 Mar 29 11357 690.10
Mar 23 11312 308.59 Mar 27 11358 370.79
Mar 20 11313 671.31 Mar 27 11359 213.61
Mar 19 11314 459.77 Mar 26 11360 525.96
Mar 21 11315 288.72 Mar 26 11361 713.57
Mar 16 11321 * 586.00 Mar 27 11362 452.31
Mar 19 11322 414.00 Mar 27 11364 * 374.57
Mar 19 11323 850.00 Mar 26 11365 558.20
Mar 19 11324 1,670.00 Mar 26 11366 444,91
Mar 21 11325 442.60 Mar 27 11367 627.00
Mar 20 11326 306.47 Mar 26 11369 * 384.57
Mar 20 11327 376.45 Mar 26 11370 562.44
Mar 22 11328 423.90 Mar 28 11371 636.12
Mar 20 11330 * 500.00 Mar 30 11372 320.32
Mar 20 11331 978.29 Mar 27 11373 764,57
Mar 20 11332 1,683.50 Mar 23 11374 427.74

Mar 20 11333 1,239.08 Mar 29 11376 * 530.95
Case 1-1/-40104-cec Doc l4/ Filed O4ilo;lo Entered O4/10/Llo Lfisyind

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SIGNATURE BANK

 

Statement Period
From March 01, 2018
To March 31, 2018
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PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

PRIME SIX INC. DBA WOODLAND 9-421

DEBTOR IN POSSESSION

CASE # 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2

BROOKLYN NY 11214 999 See Back for Important Information

Primary Account: 1502734241 385

Date Serial Nbr Amount Date Serial Nbr Amount
Mar 27 11377 402.60 Mar 21 11412 * 1,000.00
Mar 27 11378 165.96 Mar 23 11414 * 584.00
Mar 27 11379 623.18 Mar 27 11416 * 1,448.24
Mar 26 11380 606.89 Mar 29 11417 442.60
Mar 30 11381 530.18 Mar 27 11419 * 340.36
Mar 26 11382 581.53 Mar 27 114206 520.00
Mar 28 11383 338.69 Mar 28 11421 1,036.91
Mar 26 11384 691.26 Mar 26 11425 * 2,450.00
Mar 28 11385 581.43 Mar 28 11426 4,267.00
Mar 22 11386 446.29 Mar 28 11427 2,270.00
Mar 27 11387 624.49 Mar 28 11428 182.00
Mar 23 11388 421,31 Mar 29 11429 331.88
Mar 27 11390 * 660.10 Mar 28 11431 * 303.95
Mar 23 11391 632.11 Mar 29 11437 * 863.00
Mar 27 11392 559.17 Mar 26 11438 590.80
Mar 26 11393 306.13 Mar 29 11439 146.98
Mar 27 11394 356.94 Mar 26 11442 * 300.00
Mar 27 11397 * 295.39 Mar 27 11443 1,035.00
Mar 23 11398 544.87 Mar 27 11444 205.77
Mar 29 11399 309.07 Mar 26 11445 1,026.00
Mar 27 11400 284.63 Mar 28 11447 * 2,091.00
Mar 26 11401 198.65 Mar 27 11448 1,000.00
Mar 26 11402 569.13 Mar 29 11487 * 446.29
Mar 23 11403 731.33 Mar 30 11489 * 421.32
Mar 30 11404 359.82 Mar 30 11502 * 731.32
Mar 26 11405 681.66 Mar 29 11522 * 45.00
Mar 26 11406 486.83 Mar 30 11525 * 308.40
Mar 28 11407 144.81

* Indicates break in check sequence
Case 1-1/-40104-cec Doc l4/ Filed O4ilo;lo Entered O4/10/Llo Lfisyind

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Statement Period
From March O1, 2018
To March 31, 2018
Page 13 of 13
PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242
SAL MONACO
PRIME SIX INC. DBA WOODLAND 9-421
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214 999 See Back for Important Information
Primary Account: 1502734241 385
Daily Balances
Feb 28 25,268.70 Mar 16 53.30
Mar 01 24,063.73 Mar 19 22,097.03
Mar 02 381.57 Mar 20 26,595.82
Mar 05 31,046.36 Mar 21 823.26
Mar 06 17,382.68 Mar 22 113.72
Mar 07 §27.59 Mar 23 355.55
Mar 08 3,087.50 Mar 26 43,155.60
Mar 09 766.61 Mar 27 17,456.21
Mar 12 18,664.63 Mar 28 6,226.48
Mar 13 26,840.75 Mar 29 9,731.83
Mar 14 11,725.05 Mar 30 3,653.00

Mar 15 13,439.46

Rates for this statement period - Overdraft
Mar 22, 2018 14.500000 2%
Mar 01, 2018 14.250000 %
